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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

IVETTE MOORE,

       Plaintiff,

v.                                                                   Case No: 8:16-cv-176-T-36JSS

SUNTRUST MORTGAGE, INC.,

      Defendant.
___________________________________/

                                             ORDER

       The Court has been advised by the Plaintiff's Notice of Settlement (Doc. 22) that the above-

styled action has been settled. Accordingly, pursuant to Local Rule 3.08(b), M.D.Fla., it is

       ORDERED AND ADJUDGED that this cause is hereby DISMISSED without prejudice

and subject to the right of the parties, within sixty (60) days of the date of this order, to submit a

stipulated form of final order or judgment should they so choose or for any party to move to reopen

the action, upon good cause shown. After that 60-day period, however, dismissal shall be with

prejudice. Any pending motions are denied as moot and the Clerk is directed to terminate all

deadlines and administratively close the file.

       DONE AND ORDERED in Tampa, Florida on July 12, 2016.




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Counsel of Record
